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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION

CASE NO. 17-13561-EPK
CHAPTER 7
NORMAN ALBERT SCOTT,

Debtor.
/

TRUSTEE'S APPLICATION FOR EMPLOYMENT OF ATTORNEY

Trustee, MARGARET J. SMITH, respectfully requests an Order of the Court
authorizing the employment of JORDAN L. RAPPAPORT, ESQ. and the law firm of
RAPPAPORT OSBORNE & RAPPAPORT PLLC to represent the Trustee in this case
and states:

1. It is necessary that the Trustee employ an attorney to represent the
Trustee in this case to perform ordinary and necessary legal services required in the
administration of the estate.

2. The attorney does not hold or represent any interest adverse to the estate
and the Trustee believes that the employment of this attorney would be in the best
interest of the estate.

3. Attached to this Motion is the proposed attorney's Affidavit demonstrating
JORDAN L. RAPPAPORT, ESQ. and the law firm of RAPPAPORT OSBORNE &
RAPPAPORT, PLLC are disinterested as required by 11 U.S.C. §327(a) and a verified
statement as required under FRBP 2014.

4. The attorney has agreed to be compensated in accordance with 11 U.S.C.
§330.

5. The Trustee believes that the attorney is qualified to practice in the
Bankruptcy Court and is qualified to advise the Trustee on its relations with and

responsibilities to, the debtor, creditors and other parties.
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WHEREFORE, the Trustee respectfully requests an Order authorizing the
employment of JORDAN L. RAPPAPORT, ESQ. and the law firm of RAPPAPORT
OSBORNE & RAPPAPORT, PLLC to represent the Trustee on a general retainer,
pursuant to 11 U.S.C. §§ 327 and 330.

Dated: June 19, 2017

Respectfully submitted

1 fifo
MARGARET J. SMITH, TRUSTEE
1400 Centrepark Blvd., Suite 860
West Palm Beach, FL 33401
(561) 721-0312

Copies to:

All interested parties
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/

AFFIDAVIT OF PROPOSED ATTORNEY FOR TRUSTEE

STATE OF FLORIDA )
) SS:
COUNTY OF PALM BEACH )

JORDAN L. RAPPAPORT, being duly sworn, says:
1. | am an attorney admitted to practice in the State of Florida, the United States

District Court for the Southern District of Florida and am qualified to practice in the U.S.
Bankruptcy Court for the Southern District of Florida.

2. | am employed by the law firm of RAPPAPORT OSBORNE & RAPPAPORT,
PLLC with offices located at 1300 N. Federal Highway, Suite 203, Boca Raton, FL
33432

3. Neither | nor the firm hold or represent any interest adverse to the estate, and
we are disinterested persons as required by 11 U.S.C. § 327.

FURTHER AFFIANT SAYETH NAUGHT.

RDAN LRAPPAPORT
L Bar No. 108022

The foregoing instrument was acknowledged before me this 19th day of June,
2017, by JORDAN L. RAPPAPORT, (xx) who is gefsonally known to me or (_ ) who has
produced as identificatién and who did not take an oath.

Lipa _.

anne Morgan
otary more ate, oo Florida
My Commission expires: 10/24/17

Bonded Thru Notary Public Undenaters

2 MY COMMISSION # FF 058168
‘ EXPIRES: October 24, 2017

